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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 INMAR, INC. and COLLECTIVE BIAS, INC.,

                                 Plaintiffs,                          Case No: 18-cv-2306

             v.                                                     Judge Charles R. Norgle
 MONICA MURPHY VARGAS and MLW
 SQUARED, INC., d/b/a AHALOGY,

                                 Defendants.


                  JOINT MOTION TO DISMISS THE PLAINTIFFS’ COMPLAINT

        Defendants Monica Murphy Vargas and MLW Squared, Inc., d/b/a Ahalogy (collectively

“Defendants”) submit this joint Motion to Dismiss the Complaint.            For reasons presented in the

concurrently-filed Memorandum of Law, Plaintiffs Inmar, Inc. and Collective Bias, Inc. have not stated

valid claims, and the Complaint should be dismissed with prejudice pursuant to Federal Rule of Civil

Procedure 12(b)(6).

        WHEREFORE, Defendants respectfully request that the Complaint be dismissed in its entirety

with prejudice, awarded their costs, and for any other relief that this Court deems just and proper.

  Dated: May 24, 2018                                    Respectfully submitted,


  MONICA MURPHY VARGAS                                   MLW SQUARED, INC., d/b/a AHALOGY


  /s/ Kristen E. Hudson (with permission)                /s/ Daniel R. Saeedi
  One of Defendant Monica Murphy Vargas’                 One of Defendant MLW SQUARED’s
  attorneys                                              attorneys

  Kristen E. Hudson (ARDC #6281191)                      Carrie A. Hall (ARDC #6269884)
  khudson@chuhak.com                                     cahall@taftlaw.com
  Ryan A. Haas (ARDC #6283020)                           Daniel R. Saeedi (ARDC #6296493)
  rhaas@chuhak.com                                       dsaeedi@taftlaw.com
  CHUHAK & TECSON, P.C.                                  TAFT STETTINIUS & HOLLISTER LLP
  30 South Wacker Drive, Suite 2600                      111 E. Wacker Drive, Suite 2800
  Chicago, Illinois 60606                                Chicago, Illinois 60601
  Telephone: 312-444-9300                                Telephone: 312-527-4000
